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EXHIBIT A
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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG MDL NO. 2179
"DEEPWATER HORIZON" IN THE
GULF OF MEXICO, ON APRIL 20, SECTION “J” (1)
2010

JUDGE BARBIER

This document relates to: 11-275
MAGISTRATE SHUSHAN

MEMORANDUM IN SUPPORT OF EX PARTE MOTION FOR LEAVE TO FILE SUR-
REPLY OPPOSING BP’S MOTION FOR JUDGMENT ON THE PLEADINGS

Certain Underwriters at Lloyd’s, London and Various Insurance Companies
(“Underwriters”) respectfully submit this Memorandum in Support of their Ex Parte Motion for
Leave to File Sur-Reply Opposing BP’s Motion for Judgment on the Pleadings.

In its Reply to Underwriter’s Response, BP presented new arguments and expanded on
several of the issues previously raised in its Motion for Judgment on the Pleadings. For example,
in its Reply, BP, for the first time, suggests that Underwriters have “misleadingly” quoted and
misinterpreted certain provisions of the Drilling Contract. BP also incorrectly suggests that
Underwriters have agreed that BP’s motion for judgment on the pleadings is ripe for
consideration, and therefore, are judicially estopped from arguing otherwise now. Additionally,
BP has expanded upon its argument that it is entitled to coverage under the Excess Policies as a
matter of law under Texas jurisprudence. Underwriters seek the opportunity to address these
issues fully and thereby assist the Court in assessing the pending Motion.

In the interests of judicial economy and for the sake of brevity, Underwriters’ proposed

Sur-Reply does not duplicate arguments previously presented Underwriters’ Memorandum

Opposing BP’s Motion for Judgment on the Pleadings, but rather addresses new arguments set

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forth in BP’s Reply. Underwriters further submit that equitable considerations favor granting the
requested leave inasmuch as this Court has granted other parties in MDL-2179, including BP,
leave to file Sur-Replies and responses to Sur-Replies on other motions.
Accordingly, Underwriters pray that this Honorable Court grant leave to file their Sur-
Reply.
Respectfully submitted,

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing has been served on All Counsel by electronically
uploading the same to Lexis-Nexis File & Serve in accordance with Pretrial Order No. 12 on this
13th day of September, 2011.

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